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 3                          IN THE UNITED STATES DISTRICT COURTS
 4                         FOR THE EASTERN DISTRICT OF CALIFORNIA
 5                     AND THE NORTHERN DISTRICT OF CALIFORNIA
 6              UNITED STATES DISTRICT COURT COMPOSED OF THREE JUDGES
 7               PURSUANT TO SECTION 2284, TITLE 28 UNITED STATES CODE
 8
 9    RALPH COLEMAN, et al.,
10                           Plaintiffs,
                                                       NO. CIV S-90-0520 LKK JFM P
11                    v.
                                                       THREE-JUDGE COURT
12    EDMUND G. BROWN JR., et al.,
13                           Defendants.
14
15    MARCIANO PLATA, et al.,
                                                       NO. C01-1351 TEH
16                           Plaintiffs,
                                                       THREE-JUDGE COURT
17                    v.
                                                       ORDER TO MEET AND
18    EDMUND G. BROWN JR., et al.,                     CONFER
19                           Defendants.

20
21          This Court has ordered defendants to reduce the state prison population to no more
22 than 137.5% design capacity by December 31, 2013. On September 16, 2013, defendants
23 filed a request to extend that deadline to December 31, 2016, and informed the Court that,
24 absent an extension, they will begin sending additional prisoners to out-of-state facilities on
25 September 30, 2013. Defs.’ Req. for Extension of Dec. 31, 2013 Deadline (ECF No.
26 2713/4803).1
27
            1
          All filings in this Three-Judge Court are included in the individual docket sheets of
28 both Plata v. Brown, No. C01-1351 TEH (N.D. Cal.), and Coleman v. Brown, No. 90-cv-
   520-LKK (E.D. Cal.). This Court includes the docket number of Plata first, then Coleman.
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 1         IT IS HEREBY ORDERED that the parties shall meet and confer, beginning
 2 immediately, regarding defendants’ pending request. Pursuant to this Court’s prior
 3 authorization, the Honorable Peter Siggins will facilitate the meet-and-confer process. This
 4 process shall be confidential and informal. On or before October 21, 2013, Justice Siggins
 5 will informally report to this Court the status of the discussions and provide his
 6 recommendations for future actions by this Court or the parties. He shall immediately report
 7 to the Court if, at any time, he determines that further discussions between the parties would
 8 be unproductive.
 9         The meet-and-confer process shall explore how defendants can comply with this
10 Court’s June 20, 2013 Order, including means and dates by which such compliance can be
11 expedited or accomplished and how this Court can ensure a durable solution to the prison
12 crowding problem. The discussions shall specifically include: (a) three strikers;
13 (b) juveniles; (c) the elderly and the medically infirm; (d) Immigration and Customs
14 Enforcement prisoners; (e) the implementation of the Low Risk List; and (f) any other
15 means, including relocation within the state, that are included in defendants’ May 2, 2013
16 List. Justice Siggins and the parties may also discuss any necessary or desirable extension of
17 the December 31, 2013 deadline beyond that provided for in the final paragraph of this order,
18 as well as any other matters they deem appropriate.
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 1         The December 31, 2013 deadline shall be extended until January 27, 2014, without
 2 prejudice to the parties’ filing a joint request for a further extension or the Court so ordering.
 3 During the meet-and-confer process and until further order of the Court, defendants shall not
 4 enter into any contracts or other arrangements to lease additional capacity in out-of-state
 5 facilities or otherwise increase the number of inmates who are housed in out-of-state
 6 facilities.
 7
 8 IT IS SO ORDERED.
 9
10 Dated: 09/24/13
                                        STEPHEN REINHARDT
11                                      UNITED STATES CIRCUIT JUDGE
                                        NINTH CIRCUIT COURT OF APPEALS
12
13
14 Dated: 09/24/13
                                        LAWRENCE K. KARLTON
15                                      SENIOR UNITED STATES DISTRICT JUDGE
                                        EASTERN DISTRICT OF CALIFORNIA
16
17
18 Dated: 09/24/13
                                        THELTON E. HENDERSON
19                                      SENIOR UNITED STATES DISTRICT JUDGE
                                        NORTHERN DISTRICT OF CALIFORNIA
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